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      G.     Governmental and Political Activity:                 encourages staff to take an
             active interest in government and political affairs, and           staff has the
             right to express their personal opinions with respect to government and
             political affairs.      staff may not, however, participate in government or
             political activity at any time during regular working hours or at any time
             while being paid by          and is subject to the following conditions:

             1.     No action will be allowed by any person that infringes on the right of
                    any staff person to decide which candidates or positions to support.

                          will not endorse or contribute to any political candidate, party,
                    or cause.

             2.     Staff is not allowed to give the impression that any political action or
                    position represents

             3.     Staff is not allowed to directly or indirectly coerce, attempt to coerce,
                    command or advise any other staff member or client to pay, lend or
                    contribute anything of value to a party, committee, organization, or
                    person for political purpose.

             4.     Staff wishing to seek elective office should inform the Executive
                    Director. Subject to the requirements oflaw,            may grant unpaid
                    leave to staff seeking elective office for the purposes of campaigning
                    for and fulfilling their responsibilities of elected office.

                    Staff granted leave under this policy must comply with                 policy
                    for unpaid leave.

      H.     Solicitation: No solicitation will be allowed to or by employees during work
             time or on work premises. Employees may not distribute literature or printed
             materials of any kind, sell merchandise, solicit financialcontributions,or solicitfor
             any other cause during workingtime or in workingareas at any time.

      I.     Safety: It is the goal of the  to provide a safe, hazard-free environment
             for all employees. Employees must report any hazardous or unsafe working
             conditions to management immediately.

             Weapons: Weapons are strictly prohibited in             shelter facility. Law
             Enforcement Officers acting in their official capacity are exempt from this
             weapons policy.

      K.     Violence in the workplace:             recognizes that anyone can be a victim
             of domestic or sexual violence and that likewise, anyone can be a perpetrator.
             In order to support our goal of helping victims achieve safety and holding
             perpetrators accountable,          maintains the following policies for its
             employees who experience domestic violence or sexual assault.


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                                                                       Program A Decl., Ex. 6
